The appeal in this case challenges the propriety of an order directing an administrator and guardian to turn over to the temporary administrator and guardian the assets of two estates. The order was made necessary because of a bitter contest between two persons as to which was entitled to the administration of a decedent's estate and guardianship of a minor.
The issue to be determined is one of fact. No proofs are made a part of the record. The order appealed from was made for the purpose of conserving the property. Since the appellant has not seen fit to return with the record any proofs, the appeal will be dismissed, with costs.
For dismissal — THE CHIEF-JUSTICE, CASE, BODINE, DONGES, PERSKIE, PORTER, COLIE, WELLS, RAFFERTY, HAGUE, THOMPSON, DILL, JJ. 12. *Page 100 